            Case 2:18-cv-07736-GW-JC Document 11 Filed 09/13/18 Page 1 of 4 Page ID #:530



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                       DEPUY ORTHOPAEDICS, INC. n/k/a MEDICAL DEVICE
                   8   BUSINESS SERVICES INC.; JOHNSON & JOHNSON;
                       JOHNSON & JOHNSON SERVICES, INC.
                   9

                10                        UNITED STATES DISTRICT COURT
                11                      CENTRAL DISTRICT OF CALIFORNIA
                12

                13     SHERRY KINNE,                           Case No. CV 18-07736-GW(JCx)
                14                    Plaintiff,               ORDER RE STIPULATION TO
                                                               STAY ALL PROCEEDINGS
                15          vs.
                16     DEPUY ORTHOPAEDICS, INC.,
                       an Indiana corporation; JOHNSON
                17     & JOHNSON, a New Jersey
                       corporation; JOHNSON &
                18     JOHNSON SERVICES, INC., a
                       New Jersey corporation; THOMAS
                19     SCHMALZRIED, M.D., an
                       individual THOMAS P.                    JURY TRIAL DEMANDED
                20     SCHMALZRIED, M.D. A
                       PROFESSIONAL CORPORATION,
                21     a California corporation; and DOES
                       1 through 50, inclusive,                Complaint Filed: July 19, 2018
                22
                                      Defendants.
                23

                24          TO ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
                25          Upon consideration of the Stipulation to Stay Proceedings submitted by
                26     Plaintiff SHERRY KINNE, and Defendants DEPUY ORTHOPAEDICS, INC.
                27     (n/k/a MEDICAL DEVICE BUSINESS SERVICES INC.”), JOHNSON &
                28
   B ARNES &                                                                           CV18-07736-GW (JCx)
T HORNBURG LLP
ATTORNEYS AT LAW
  LOS ANGELES
                                    [PROPOSED] ORDER RE STIPULATION TO STAY ALL PROCEEDINGS
            Case 2:18-cv-07736-GW-JC Document 11 Filed 09/13/18 Page 2 of 4 Page ID #:531



                   1   JOHNSON SERVICES, INC., JOHNSON & JOHNSON, THOMAS
                   2   SCHMALZRIED, M.D., and THOMAS P. SCHMALZRIED, M.D. A
                   3   PROFESSIONAL CORPORATION (hereafter collectively “the Parties”); upon
                   4   consideration of all documents, files, and pleadings in this action; and upon good
                   5   cause shown, it is hereby ORDERED that:
                   6         1.     The Parties’ request for a stay of proceedings is GRANTED;
                   7         2.     All proceedings in this action are hereby stayed, pending a decision by
                   8   the Judicial Panel on Multidistrict Litigation on whether this case should be
                   9   transferred to In re DePuy Orthopaedics, Inc. Pinnacle Hip Implant Products
                10     Liability Litigation, MDL Docket No. 2244;
                11           3.     Deadlines relating to any outstanding responsive pleading are extended
                12     pending entry of a Scheduling Order in the MDL court addressing responsive
                13     pleadings and the deadline to file any remand motion is extended pursuant to the
                14     MDL court's August 14, 2012 “Order Regarding Cases Removed from State
                15     Court,” and any subsequent orders that the MDL Court may issue.
                16           4.     A status conference is set for October 11, 2018 at 8:30 a.m. pending
                17     the Judicial Panel's decision whether to transfer the case to MDL No. 2244.
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                19           PURSUANT TO STIPULATION, IT IS SO ORDERED.
                20

                21
                       Dated: September 13, 2018              _______________________________
                                                              GEORGE H. WU, U.S. DISTRICT JUDGE
                22

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   B ARNES &                                                    -1-                        CV18-07736-GW (JCx)
T HORNBURG LLP
ATTORNEYS AT LAW
  LOS ANGELES
                                      [PROPOSED] ORDER RE STIPULATION TO STAY ALL PROCEEDINGS
            Case 2:18-cv-07736-GW-JC Document 11 Filed 09/13/18 Page 3 of 4 Page ID #:532



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   B ARNES &                                                                   CV18-07736-GW (JCx)
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  LOS ANGELES
                                        STIPULATION TO STAY ALL PROCEEDINGS
            Case 2:18-cv-07736-GW-JC Document 11 Filed 09/13/18 Page 4 of 4 Page ID #:533



                   1                             CERTIFICATE OF SERVICE
                   2          I am over the age of eighteen years and not a party to the within-entitled
                       action. My business address is 2029 Century Park East, Suite 300, Los Angeles,
                   3   California 90067. On September 14, 2018, I served a copy of the within
                       document(s):
                   4

                   5
                       on the interested party(ies) below:
                   6
                       Paul R. Kiesel
                   7   Melanie Meneses Palmer
                       Cherisse Heidi A. Cleofe
                   8   KIESEL LAW LLP
                       8646 Wilshire Boulevard
                   9   Beverly Hills, CA 90211-2910
                       Telephone: (310) 854-4444
                10     Fax: (310) 854-0812
                       Attorneys for Plaintiff
                11

                12        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                            the document(s) with the Clerk of the Court by using the CM/ECF system.
                13          Participants in the case who are registered CM/ECF users will be served by
                            the CM/ECF system. Participants in the case who are not registered
                14
                            CM/ECF users will be served by mail or by other means permitted by the
                15          court rules.
                16
                              Following ordinary business practices, the envelope was sealed and placed
                17
                       for collection and mailing on this date, and would, in the ordinary course of
                18     business, be deposited with the United States Postal Service on this date.
                19
                            I declare I am employed in the office of a member of the bar of this court at
                20     whose direction the service was made.
                21
                             Executed on September 14, 2018, at Los Angeles, California.
                22

                23

                24                                                          Jerod Williams
                25

                26

                27

                28
   B ARNES &
T HORNBURG LLP
ATTORNEYS AT LAW
  LOS ANGELES
                                                       CERTIFICATE OF SERVICE
